     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 1 of 19




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                       :                ECF CASE
EMILE TOPILIN,
                                       :
                Plaintiff,             :                No.: _________________
                                       :
       v.                              :                COMPLAINT
                                       :
TATA AMERICA INTERNATIONAL             :                JURY TRIAL DEMANDED
CORPORATION and VINOD VERGHESE, Jointly:
and severally,                         :
                                       :
               Defendants.             :
                                       :
------------------------------------x

                                  NATURE OF CASE

       1.      Plaintiff Emile Topilin alleges claims of sexual harassment, sexual

orientation-based discrimination and retaliation under Title VII of the Civil Rights Act of

1964, § 42 U.S.C. §§ 2000e, et seq. (“Title VII”), the New York State Human Rights

Law (“NYSHRL”) and the New York City Human Rights Law (“NYCHRL”) against his

former employers, Tata American International Corporation and Vinod Verghese.

                                     THE PARTIES

       2.      Topilin was, at all relevant times, an adult individual, residing in New

York, New York, New York County. Topilin is an openly gay man.

       3.      Upon information and belief, Tata is a corporation that is organized and

exists under New York law with its principal office at 101 Park Avenue, Floor 26, New

York, New York 10178 (Phone 212.557.8038). Tata is a wholly-owned subsidiary of

Tata Consultancy Services. Tata employs more than 50 employees in New York City.

       4.      Vinod Verghese was, at all relevant times, an adult individual who, upon

information and belief, resides in New York, New York, New York County.
      Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 2 of 19




                                JURISDICTION & VENUE

       5.       This Court has subject matter jurisdiction over the claims in this action

pursuant to the provisions of 28 U.S.C. §§ 1331 and 1343, and supplemental jurisdiction

over Topilin’s state law claims pursuant to 28 U.S.C. § 1367.

       6.       Venue is proper in this District under 28 U.S.C. § 1391 as a substantial

part of the events or omissions giving rise to the claims occurred in this District.

       7.       This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

       8.       On or about May 29, 2018, Topilin filed a charge of employment

discrimination with the U.S. Equal Employment Opportunity Commission (“EEOC”),

alleging claims of sexual harassment, sexual orientation-based discrimination and

retaliation under Title VII, the NYSHRL and the NYCHRL.

       9.       On August 21, 2019, the EEOC issued Topilin a Notice of Right to Sue. A

true and correct copy of the Notice of Right to Sue is attached hereto as Exhibit A.

       10.      Topilin commenced this action within 90 days of receiving the Notice of

Right to Sue.

                                STATEMENT OF FACTS

       11.      Tata Consultancy Services is an India-based multinational information

technology service, consulting and business solutions company with headquarters in

Mumbai, Maharashtra. Tata is a subsidiary of Tata Consultancy Services.




                                             -2-
        Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 3 of 19




Role and Performance Evaluations1

          12.    Topilin commenced employment with Tata on or about October 13, 2014

as Associate Corporate Counsel in the General Counsel’s office.

          13.    As Associate Corporate Counsel, he reported to Associate General

Counsel (Verghese) who, in-turn, reported to both Deputy General Counsel (Madhav

Anchan) and Global Head of Legal and Corporate Affairs (Vish Iyer), who, in-turn,

reported to the CEO (Rajesh Gopinathan).

          14.    Tata employed, for all relevant times, Verghese as Associate General

Counsel.

          15.    Verghese is in a supervisory role relative to Topilin, having the authority

to discipline him, review his performance, and affect his compensation and promotional

opportunities.

          16.    Tata evaluates its employees on a curve. For the Counsel’s office, where

Topilin worked, this translated to: only 10% of the group or 1 person gets an A, 25% or 3

get a B, and the majority or 65% get a C.

          17.    For his 2015 and 2016 semi-annual reviews, Topilin received a “C.”

          18.    On April 1, 2017, he received his annual review rating: a “D.”

          19.    It is company policy that an employee is placed on a Performance

Improvement Plan when he or she receives a D annual review and is terminated if he or

she receives a second D upon completing the Performance Improvement Plan.




1
    These subject lines are included for organizational purposes.

                                              -3-
     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 4 of 19




Sexual Harassment, Discrimination and Retaliation

       20.     During his employment, Topilin did not receive anti-harassment or anti-

discrimination training.

       21.     On or about the first day of Topilin’s employment at Tata, Verghese

informed Topilin that he is gay and asked Topilin if he is gay, to which he responded that

he is. After Topilin informed Verghese that he is gay, Verghese slid his knee between

Topilin’s legs and touched Topilin’s penis. To which, Topilin recoiled and

unambiguously communicated he wanted to keep this a professional relationship.

       22.     The following occurred about six times: Verghese would tell Topilin to

come to his office; Topilin would go to his office and Verghese would tell Topilin to look

at something on his computer; when Topilin would come around the desk to look at the

computer, Verghese would put his hand on Topilin’s buttocks, fondling them, and

Topilin would push his hand away.

       23.     Verghese regularly told Topilin that he “looks sexy,” to which Topilin

would respond, in sum and substance, “Thanks for the compliment, but I wish you had

kept it to yourself as it is inappropriate and embarrassing to me.”

       24.     In or about February 2015, Verghese called Topilin at home while he was

recovering from sinus surgery. Verghese inquired, “If there is someone to keep your bed

warm” and went on to state “it is too bad that person is not me.” Topilin thanked him for

checking on him but stated he preferred Verghese had not made that last remark.

       25.     Topilin, in August 2015, was subjected to a particularly egregious sexual

harassment incident: both Verghese and Topilin entered the men’s room within a few

moments of each other; Topilin entered a stall when he noticed Verghese was using one




                                            -4-
      Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 5 of 19




of the two available urinals; Verghese, before Topilin could close the stall door, turned

around from the urinal with his penis visible and asked Topilin for a “quickie;” Topilin,

hoping to escape this situation, tried to close the stall door but Verghese pushed it open;

Topilin then pushed past him and escaped this traumatizing situation and told Verghese

what he did was bordering on assault and rape. Topilin was, in fact, so shaken by this that

he left the building for a few hours and returned only to collect his things and leave for

the day. Seeing this happen, Verghese approached him and told him to keep that incident

between them, while giving Topilin a menacing look. Fearing retaliation, Topilin did not

tell anyone about this incident.

       26.     In February 2016, the entire legal department had a conference in the

Republic of India.

       27.     During one of the nights of that February 2016 conference, Verghese

forcibly kissed Topilin on the beach adjacent to the resort hotel by pulling Topilin’s head

to him, while also forcibly putting his hand down Topilin’s pants and fondled his penis.

Topilin made clear this conduct was unsolicited, unwanted and unacceptable, and that

Verghese had to immediately stop these unwanted sexual advances because they were

making his life inside and outside the office miserable.

       28.     Following this incident, Topilin told Verghese that he would report him to

the Deputy General Counsel and the Global Head of Legal and Corporate Affairs if this

conduct did not stop.

       29.     The conduct did not, however, stop. Verghese continued to make

unsolicited sexual advances towards Topilin.




                                            -5-
       Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 6 of 19




        30.    In May 2016, Topilin and Verghese were at a group lunch at the restaurant

Sinigual, at which Vish Iyer (Global Head of Legal and Corporate Affairs) attended.

Having arrived late, the only available seat for Topilin was next to Verghese. After the

food was served, Verghese slid his hand under the table, placing it on Topilin’s knee and

then quickly moved his hand up to Topilin’s crotch. Surrounded by his colleagues

including Mr. Iyer, Topilin was petrified with fear when this happened. Topilin, while not

saying anything, kicked Verghese’s foot, signaling to him to stop. Verghese did move his

hand off of Topilin’s crotch and Topilin promptly excused himself, and went to the men’s

room to compose himself. When they were back in the office, Topilin told Verghese –

once again – to stop these harassing acts and reminded him of the promise Verghese

made in February after the incident at the legal conference in India that the harassment

would stop. Verghese apologized and pleaded with Topilin to keep this quiet.

        31.    In June 2017, Verghese and Topilin met with the Deputy General Counsel.

Topilin did not complain about Verghese’s sexual harassment because he believes

Verghese generates significant revenue for the company and feared his complaint would

be ignored or, worse, he would be retaliated against.

        32.    Following that June 2017 meeting, Verghese thanked Topilin for not

saying anything to the Deputy General Counsel about the sexual harassment while

grabbing Topilin by the neck with menacing grip and fondling, in a sexual way, his right

ear.

        33.    In July 2017, Topilin was informed that he was being investigated because

a customer had allegedly complained that he deleted a “Compliance with Laws”




                                            -6-
     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 7 of 19




paragraph from a couple of Statements of Works and initialed and dated the deletion

without letting the customer know that it had to counter-initial and date the same.

       34.     Other attorneys in the Counsel’s Office had routinely done the same thing

that Topilin was accused of but they were not investigated. Importantly, none of those

attorneys were the target of Verghese’s unwanted sexual advances – let alone rejected his

advances.

       35.     Topilin was being treated differently than his co-workers because he

rejected Verghese’s repeated sexual advances and because of his sexual orientation

       36.     On July 21, 2017, Topilin complained to Sujata Majumdar from Human

Resources about Verghese’s sexual harassment.

       37.     The next time Topilin heard from Sujata was on August 2, 2017 when she

informed him that his employment was being terminated “because of an investigation.”

       38.     Defendants fired Topilin despite company policy that an employee is fired

only after receiving a second D semi-annual performance review after having first been

put on a performance improvement plan; Topilin was not put on a performance

improvement plan and received only one D.

       39.     A few days prior to his termination, Hilary Robinson (Tata’s Employment

Counsel), commented to Topilin that Verghese mistreated him verbally and in writing

because Topilin is gay and Verghese is insecure with his homosexuality in Tata’s very

conservative working environment, which prompted Verghese to single out Topilin for a

disparate and especially harsh treatment in written and verbal communications to dispel

any appearance of favoritism or “gay solidarity” in the eyes of Verghese’s management.




                                            -7-
     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 8 of 19




       40.     Verghese discriminated against Topilin because of his sexual orientation

in numerous ways, including: subjecting him to higher performance standards; giving

him the D review, despite the numerous thank you letters Topilin received from his

internal customers for whom he negotiated their commercial contracts and they sent

positive feedback to Verghese; firing Topilin before he received a second D and before

he was put on a PIP; and firing Topilin for alleged conduct that numerous non-gay

employees have done but for which they were not fired.

       41.     Defendants used Topilin’s purported poor performance as a pretext to

terminate his employment in retaliation for complaining about Verghese sexually

harassing him and for rejecting Verghese’s sexual advances.

       42.     The continued sexual harassment has caused Topilin to have anxiety,

sleepless nights, panic attacks, suffer from stress and headaches, to seek treatment from a

mental health provider and to take prescribed medication.

       43.     Topilin’s harassment reflects and is consistent with the overall unlawful

nature of Tata’s unlawful work environment: Cyrus Mistry (Chairman of Tata Sons) was

dismissed following sexual harassment claims; and the federal class action lawsuit

against Tata for discriminating against individuals who are not South Asian.

       44.     Tata did not exercise reasonable care to prevent or promptly correct the

harassing behavior set forth in this Complaint.

                           FIRST CAUSE OF ACTION
                     SEXUAL HARASSMENT UNDER TITLE VII

       45.     Topilin repeats every preceding allegation as if fully set forth herein.

       46.     At all relevant times, Topilin was an “employee” and “person” within the

meaning of Title VII and Defendants were “employers.”



                                            -8-
      Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 9 of 19




       47.     Title VII prohibits the creation of a hostile work environment, including

male-on-male sexual harassment. 42 U.S.C. §§ 2003-2(a)(1), et seq.

       48.     As Verghese was Topilin’s immediate supervisor, Tata is vicariously

liable for the hostile work environment he created and Tata is unable to support an

affirmative defense to this.

       49.     The facts asserted in this Complaint confirm Topilin’s work environment

was objectively severe and pervasive such that a reasonable person would find it hostile;

Topilin perceived the environment as hostile; and the hostile environment was because of

his gender.

       50.     Defendants engaged in unlawful employment practices that Title VII

prohibits.

       51.     As a result of Defendants’ unlawful conduct, Topilin has suffered and

continues to suffer, inter alia, loss of wages, emotional distress, mental anguish,

emotional pain, physical pain and suffering, inconvenience, loss of enjoyment of life,

medical expenses, punitive damages, and attorneys’ fees.

                         SECOND CAUSE OF ACTION
                   SEXUAL HARASSMENT UNDER THE NYSHRL

       52.     Topilin repeats every preceding allegation as if fully set forth herein.

       53.     At all relevant times, Topilin was an “employee” and “person” within the

meaning of the NYSHRL and Defendants were “employers.”

       54.     The NYSHRL prohibits employment discrimination and harassment based

on gender. N.Y. Exec. Law § 296(1)(a).

       55.     Topilin was subjected to unwelcomed sexual conduct in the workplace

that constitutes sex-based harassment.



                                            -9-
     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 10 of 19




       56.     Tata is vicariously liable for an actionable hostile environment created by

one of its supervisors who had immediate or successively higher authority over Topilin.

       57.     Verghese had the authority to affect Topilin’s employment terms and

conditions.

       58.     Verghese is personally liable for the damages under this claim because he

constitutes an employer and participated in the conduct giving rise to this claim. N.Y.

Exec. Law §§ 296(1), 296(6).

       59.     As a result of Defendants’ harassment of him, Topilin has suffered and

continues to suffer, inter alia, loss of wages, emotional distress, mental anguish,

emotional pain, physical pain and suffering, inconvenience, loss of enjoyment of life and

medical expenses.

                        THIRD CAUSE OF ACTION
              GENDER BASED HARASSMENT UNDER THE NYCHRL

       60.     Topilin repeats every preceding allegation as if fully set forth herein.

       61.     At all relevant times, Topilin was an “employee” and “person” within the

meaning of the NYCHRL and Defendants were “employers.”

       62.     Topilin was treated less well than his female colleagues because of his

gender, violating N.Y.C. Admin. Code § 8-107(1)(a).

       63.     Tata is strictly liable for the actionable hostile environment created by one

of its supervisors who had immediate or successively higher authority over Topilin.

       64.     As a result of Defendants’ harassment of him, Topilin has suffered and

continues to suffer, inter alia, loss of wages, emotional distress, mental anguish,

emotional pain, physical pain and suffering, inconvenience, loss of enjoyment of life, and

medical expenses.



                                            -10-
     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 11 of 19




       65.     Defendants harassed Topilin with malice and/or reckless indifference to

his rights under the NYCHRL.

                    FOURTH CAUSE OF ACTION
     SEXUAL ORIENTATION-BASED DISCRIMINATION UNDER TITLE VII

       66.     Topilin repeats every preceding allegation as if fully set forth herein.

       67.     Title VII prohibits discrimination on the basis of sexual orientation. 42

U.S.C. §§ 2000e-2(a)(1), et seq.

       68.     Defendants discriminated against Topilin on the basis of his sexual

orientation. Verghese purposely subjected Topilin to higher performance standards than

his non-gay co-workers because Verghese wanted to avoid any appearance of favoring

Topilin for being gay. This discriminatory treatment includes giving Topilin a negative

performance review and firing Topilin, without first putting him on a PIP, for alleged

conduct that many non-gay workers have done, but for which they were not fired.

       69.     If Topilin was not gay, he would not have received that negative review

and would not have been fired.

       70.     No legitimate, non-discriminatory reason exists for firing Topilin.

       71.     As Verghese was Topilin’s immediate supervisor, Tata is vicariously

liable for the hostile work environment he created and Tata is unable to support an

affirmative defense to this.

       72.     Defendants engaged in unlawful employment practices that 42 U.S.C. §§

2000e, et seq. prohibits by discriminating against Topilin on the basis of his sexual

orientation.

       73.     As a result of Defendants’ unlawful conduct, Topilin has suffered and

continues to suffer, inter alia, loss of wages, emotional distress, mental anguish,



                                            -11-
     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 12 of 19




emotional pain, physical pain and suffering, inconvenience, loss of enjoyment of life,

medical expenses, punitive damages, and attorneys’ fees.

                     FIFTH CAUSE OF ACTION
   SEXUAL ORIENTATION-BASED DISCRIMINATION UNDER THE NYSHRL

       74.     Topilin repeats every preceding allegation as if fully set forth herein.

       75.     The NYSHRL prohibits employment discrimination based, inter alia, on

sexual orientation. N.Y. Exec. Law § 296(1)(a).

       76.     Defendants discriminated against Topilin on the basis of his sexual

orientation. Verghese purposely subjected him to higher performance standards than his

non-gay co-workers in order to avoid any appearance of favoring him for being gay. This

discriminatory treatment includes giving Topilin a negative performance review and

firing Topilin, without first putting him on a PIP, for alleged conduct that many non-gay

workers have done, but for which they were not fired.

       77.     If Topilin was not gay, he would not have received that negative review

and would not have been fired.

       78.     No legitimate, non-discriminatory reason exists for firing Topilin.

       79.     As Verghese was Topilin’s immediate supervisor, Tata is vicariously

liable for the hostile work environment he created and Tata is unable to support an

affirmative defense to this.

       80.     Verghese had the authority to affect Topilin’s employment terms and

conditions.

       81.     Verghese is personally liable for the damages under this claim because he

constitutes an employer and participated in the conduct giving rise to this claim. N.Y.

Exec. Law §§ 296(1), 296(6).



                                            -12-
     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 13 of 19




       82.     As a result of Defendants’ unlawful conduct, Topilin has suffered and

continues to suffer, inter alia, loss of wages, emotional distress, mental anguish,

emotional pain, physical pain and suffering, inconvenience, loss of enjoyment of life,

medical expenses and attorneys’ fees.

                     SIXTH CAUSE OF ACTION
   SEXUAL ORIENTATION-BASED DISCRIMINATION UNDER THE NYCHRL

       83.     Topilin repeats every preceding allegation as if fully set forth herein.

       84.     The NYCHRL prohibits discrimination on the basis of sexual orientation.

       85.     Topilin was treated less well than his non-gay colleagues. Verghese

purposely subjected Topilin to higher performance standards than his non-gay co-workers

in order to avoid any appearance of favoring Topilin for being gay. This discriminatory

treatment includes giving Topilin a negative performance review and firing Topilin,

without first putting him on a PIP, for alleged conduct that many non-gay workers have

done, but for which they were not fired.

       86.     If Topilin was not gay, he would not have received that negative review

and would not have been fired.

       87.     No legitimate, non-discriminatory reason exists for firing Topilin.

       88.     Tata is strictly liable for the actionable discriminatory environment created

by its supervisors who had immediate or successively higher authority over Topilin.

       89.     As a result of Defendants’ harassment of him, Topilin has suffered and

continues to suffer, inter alia, loss of wages, emotional distress, mental anguish,

emotional pain, physical pain and suffering, inconvenience, loss of enjoyment of life and

medical expenses.




                                            -13-
        Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 14 of 19




         90.   Defendants discriminated against Topilin with malice and/or reckless

indifference to his rights under the NYCHRL.

                           SEVENTH CAUSE OF ACTION
                          RETALIATION UNDER TITLE VII

         91.   Topilin repeats every preceding allegation as if fully set forth herein.

         92.   Under Title VII, “[i]t shall be an unlawful employment practice for an

employer to discriminate against any of his employees . . . because he has opposed any

practice made an unlawful employment practice by this subchapter.” 42 U.S.C. §§ 2000e-

3(a).

         93.   Topilin engaged in protected activity: rejecting Verghese’s sexual

advances, complaining to Human Resources about his sexual harassment, and

complaining to Tata’s in-house employment counsel about his harassment.

         94.   Tata was aware of Topilin’s participation in the protected activity; Tata

took adverse action against Topilin; and a causal connection existed between Topilin’s

protected activity and the adverse action Tata took.

         95.   No legitimate, non-retaliatory reasons exist for the adverse action Tata

took against Topilin.

                           EIGHTH CAUSE OF ACTION
                        RETALIATION UNDER THE NYSHRL

         96.   Topilin repeats every preceding allegation as if fully set forth herein.

         97.   Under the NYSHRL, “[i]t shall be unlawful discriminatory practice . . .

[f]or any employer . . . to . . . discriminate against any person because [s]he has opposed

any practices forbidden under this article or because [s]he has filed a complaint, testified

or assisted in any proceeding under this article.” N.Y. Exec. Law § 296(1)(e).




                                            -14-
     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 15 of 19




       98.     Topilin engaged in protected activity, having opposed practices the

NYSHRL forbids; Tata was aware of Topilin’s participation in the protected activity;

Tata took adverse action against Topilin; and a causal connection existed between

Topilin’s protected activity and the adverse action Tata took.

       99.     Tata was aware of Topilin’s participation in the protected activity; Tata

took adverse action against Topilin; and a causal connection existed between Topilin’s

protected activity and the adverse action Tata took.

       100.    No legitimate, non-retaliatory reasons exist for the adverse action Tata

took against Topilin.

                            NINTH CAUSE OF ACTION
                        RETALIATION UNDER THE NYCHRL

       101.    Topilin repeats every preceding allegation as if fully set forth herein.

       102.    The NYCHRL prohibits employers from retaliating or discriminating in

any manner against any person because such person has opposed any practice the

NYCHRL forbids. N.Y.C. Admin. Code § 8-107(7).

       103.    Under the NYCHRL, the retaliation or discrimination complained of need

not result in an “ultimate action” with respect to the employee, or even in a materially

adverse change in the employee’s terms and conditions, provided that the retaliatory or

discriminatory act(s) complained of would be reasonably likely to deter a person from

engaging in protected activity. Restoration Act § 3 (amending N.Y.C. Admin Code § 8-

107(7)).

       104.    Topilin took action to oppose Tata’s hostile work environment.




                                            -15-
      Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 16 of 19




        105.   Tata engaged in conduct that was reasonably likely to deter a person from

engaging in such conduct, violating the NYCHRL’s anti-retaliation provisions. N.Y.C.

Admin Code § 8-107(7)

        106.   A causal connection exists between Topilin’s opposition and Defendants’

decision to terminate his employment.

                                 PRAYER FOR RELIEF

        WHEREFORE, Topilin respectfully requests the following relief:

        a.     Holding Defendants jointly and severally liable;

        b.     Back pay, front pay, and all benefits along with pre and post judgment

interest;

        c.     Punitive damages under Title VII, NYSHRL and NYCHRL;

        d.     Damages for pain and suffering, anxiety, humiliation, loss of enjoyment of

life, physical injury and emotional distress, and medical expenses in order to compensate

him for the injuries he has suffered and to signal to other employers that discrimination,

harassment and retaliation are repulsive to legislative enactments;

        e.     Attorneys’ fees, costs and expenses to the fullest extent permitted by law;

and

        f.     Any other relief that this Court deems just and equitable.




                                           -16-
     Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 17 of 19




                            DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Topilin demands a trial by jury on all questions

of fact the Complaint raises.

Dated: New York, New York
       November 22, 2019

                                     LIPSKY LOWE LLP


                                       s/ Douglas B. Lipsky
                                     Douglas B. Lipsky
                                     Christopher H. Lowe
                                     Sara J. Isaacson
                                     420 Lexington Avenue, Suite 1830
                                     New York, New York 10170-1830
                                     Tel: 212.392.4772
                                     Fax: 212.444.1030
                                     doug@lipskylowe.com
                                     chris@lipskylowe.com
                                     Attorneys for Emile Topilin




                                          -17-
Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 18 of 19




                          EXHIBIT A




                             -18-
                                        Case 1:19-cv-10839-GBD Document 1 Filed 11/22/19 Page 19 of 19
  EEOC      F         161    (11/16)
                                                                                U.S. EQUAL EMPLOYMENT                                                                    NITY CoMMISSION

                                                                                            DIsMISSAL                        AND         NoTice                     oF             RiGHTS
                                                                                                                                                               From                New          York       District         Office
      To        Emile           Topilin
                                                                                                                                                                                   33 Whitehall                 Street
                c/o Lipsky                Lowe             LLP
                630         Third        Avenue                    5th Floor                                                                                                       5th Floor

                New         York,         NY      10017                                                                                                                            New         York,       NY        10004




                                                      On    behalf        of person(s)          aggrieved       whose        identity is
                                                       CONFIDENTIAL                  (29 CFR           81601.7(a))
                                                                                          EEOC         Representative                                                                                                                Telephone         No
  EEOC           Charge No

                                                                                          Holly         M.    Shabazz
  520-2018-                 -04092                                                         State & Local                  Program                Manager                                                                            (212)       336-3643

  THE           EEOC            IS CLOSING                       ITS FILE ON                    THIS CHARGE                    FOR          THE FOLLOWING                                      REASON
                                  The    facts        alleged        in the       charge        fail to state        a claim        under         any        of the          statutes           enforced        by    the    EEOC



                                  Your     allegations              did    not involve           a disability        as      defined       by the            Americans                 With      Disabilities         Act



                                  The     Respondent                 employs            less than        the required           number           of employees                       or is not       otherwise          covered           by the    statutes



                                  Your      charge            was         not     timely        filed    with       EEOC;          in    other         words,                you       waited       too     long       after the           date(s)      of the        alleged
                               discrimination                 to file your           charge

                                  The     EEOC             issues         the     following        determination                   Based          upon         its investigation,                    the    EEOC            is unable        to   conclude            that the
                                                                                                                                                         This           does       not     certify that         the    respondent            is in compliance             with
                               information                 obtained          establishes           violations         of the       statutes
                               the       statutes             No    finding       is made         as to       any    other     issues       that        might           be     construed            as hiaving         been     raised       by this         charge


                                  The     EEOC          has        adopted         the findings           of the     state     or local fair employment                                  practices         agency       that investigated               this charge


                                                                                                Charging            Party       wishes             to pursue                       matter         in Federal                District Court
                               Other        (briefly        state)




                                                                                                              NOTICE               OF SUIT                   RIGHTS
                                                                                                (See    the    additional      information             attached           to this form.)



Title VII, the                    Americans                   with        Disabilities                 Act, the         Genetic            Information                         Nondiscrimination                            Act, or the           Age
Discrimination                           in Employment                           Act:     This     will be          the only        notice             of dismissal                      and     of your        right to sue             that     we    will send         you
You        may        file a           lawsuit        against         the         respondent(s)                 under         federal        law         based               on        this charge           in federal             or state court.                Your
lawsuit          must             be     filed        WITHIN               90     DAYS          of your         receipt            of    this          notice;               or your           right to sue           based         on     this charge          will be
lost.      (The         time        limit       for filing          suit     based         on    a claim        under         state        law         may         be     different.)



Equal           Pay         Act        (EPA):           EPA         suits        must      be filed          in federal         or state           court            within         2     years      (3 years          for willful          violations)         of the
alleged          EPA          underpayment.                          This means                 that backpay                 due        for any          violations                      that     occurred             more         than        2 years        (3years
before           you         file suit           may        not      be         collectible.

                                                                                                                                            If   oft                O




                                                                                                                                                                                                                               Auqust           21,         2019

                                                                                                                                                                                                                                             (Date      Mailed)
 Enclosures(s)                                                                                                               Kevin         J. Berry
                                                                                                                            District         Director

 CC
                                                                                                                                                             TATA AMERICA                              INTERNATIONAL                         CORPORATION
                      DOUGLAS                    B. LIPSKY                 --ESQ                                                                             Attn            Director            of Human              Resources
                      Attorney              at Law                                                                                                           101 Park                  Avenue
                      630       Third        Avenue                                                                                                      26th Floor
                      5th Floor
                       th
                                                                                                                                                             New         York,            NY     10178
                      New          York,         NY        10017
